     Case 1:15-cv-00839-PLM-PJG ECF No. 20 filed 11/23/15 PageID.50 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

Carla Henry,

        Plaintiff,
v.                                                   Case No: 2:15-cv-00839

Wells Fargo Bank, N.A.,                              Honorable Paul L. Maloney

        Defendant


           STIPULATION TO ORDER TO ARBITRATE AND DISMISS ACTION

         The parties hereby stipulate that Plaintiff’s claims in this action are subject to a valid and

 binding arbitration agreement contained in the parties’ credit agreement, and that Defendant

 Wells Fargo Bank has made a timely demand upon Plaintiff Carla Henry to arbitrate her claims.

 Accordingly, the parties hereby stipulate to entry of order that accompanies this stipulation that

 orders arbitration and dismisses this action.

 KROHN & MOSS, LTD                                    MILLER, CANFIELD,
                                                      PADDOCK AND STONE, P.L.C.

 By:    s/Ryan Lee with consent                       By: s/Emily C. Palacios
 Attorney for Carla Henry                             Attorney for Wells Fargo Bank, N.A.
 10474 Santa Monica Boulevard, Suite 405              101 North Main, 7th Floor
 Los Angeles, CA 90025                                Ann Arbor, Michigan 48104-1400
 T: (323) 988-2400                                    T: (734) 668-7784
 F: (866) 861-1390                                    F: (743) 747-7147
 rlee@consumerlawcenter.com                           palacios@millercanfield.com
                                                      (P64941)
 Dated: November 12, 2015
     Case 1:15-cv-00839-PLM-PJG ECF No. 20 filed 11/23/15 PageID.51 Page 2 of 3



                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

Carla Henry,

        Plaintiff,
v.                                                  Case No: 2:15-cv-00839

Wells Fargo Bank, N.A.,                             Honorable Paul L. Maloney

        Defendant


               STIPULATED ORDER TO ARBITRATE AND DISMISS ACTION

         This matter having come before the court upon the stipulation of the parties, and the court

 being advised of its premises:

         IT IS HEREBY ORDERED that the parties shall proceed to binding arbitration for

 resolution of the pending dispute as agreed under the terms of the arbitration agreement

 contained in the credit agreement between the parties. IT IS FURTHER ORDERED that Plaintiff

 shall file her demand for arbitration with the American Arbitration Association within 30 days of

 entry of this Order. IT IS FURTHER ORDERED that the above-captioned case is dismissed

 without prejudice, including to Defendant Wells Fargo Bank’s right to bring a collection action

 in state court, and without costs or attorney fees to either party. IT IS FURTHER ORDERED

 that this Order resolves the last pending claim and closes the case.



                                               Paul L. Maloney
                                               United States District Judge

 Dated: November __, 2015
  Case 1:15-cv-00839-PLM-PJG ECF No. 20 filed 11/23/15 PageID.52 Page 3 of 3



Approved as to form:

KROHN & MOSS, LTD                             MILLER, CANFIELD,
                                              PADDOCK AND STONE, P.L.C.

By:    s/Ryan Lee with consent                By: s/Emily C. Palacios
Attorney for Carla Henry                      Attorney for Wells Fargo Bank, N.A.
10474 Santa Monica Boulevard, Suite 405       101 North Main, 7th Floor
Los Angeles, CA 90025                         Ann Arbor, Michigan 48104-1400
T: (323) 988-2400                             T: (734) 668-7784
F: (866) 861-1390                             F: (743) 747-7147
rlee@consumerlawcenter.com                    palacios@millercanfield.com
                                              (P64941)
Dated: November 12, 2015

25501256.1\095586-01521




                                          2
